                     Case MDL No. 2814 Document 300 Filed 06/04/20 Page 1 of 2
UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                                                               Ford Motor Co. DPS6 PowerShift Transmission
           2814
MDL No. _____________                        & T ITLE - IN RE: __________________________________
                                                               Products Liability Litigation



                                                    NOTICE OF APPEARANCE
                         Appearances should only be entered in compliance with Rule 4.1(c).

PARTIES REPRESENTED (indicate plaintiff or defendant--attach list if more than one
action):

                                                           PLAINTIFF PATRICIA HALL


SHORT CASE CAPTION(s) (Include District(s), Civil Action No(s).-- attach list if more
than one action):
                                             Patricia Hall v. Ford Motor Company, et al.,
                                             Dist. Of Cal., No: 3:20-cv-00609

                            *****************************************************

        In compliance with Rule 4.1(c), the following designated attorney is authorized to file and
receive service of all pleadings, notices, orders, and other papers relating to practice before the
Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
aware that only one attorney can be designated for each party.
                           June 4, 2020                                                                 /s/ David A. Goldsmith
                                 Date                                                               Signature of Attorney or Designee

Name and Address of Designated Attorney: David A. Goldsmith (SBN 232457)
                                                                                       GOLDSMITH WEST, A Professional Law Corporation
                                                                                       609 Deep Valley Drive, Suite 200
                                                                                       Rolling Hills Estates, CA 90275
Telephone No.:                   (310) 620-8560                                                       Fax No.:                (310) 861-5527

                david@goldsmithwest.com
Email Address: __________________________


Instructions:

1. From the JPM L hom e page, download N otice of Appearance. Fill out form and save in .pdf format. (All docum ents filed with the Judicial Panel m ust be in PD F Format.)
T he Appearance F orm is to be filed as the m ain PD F docum ent. Any docum ents subm itted with the Appearance Form are attachm ents.
2. Select M D L from the m enu bar at the top of the E CF screen.
3. Click on N otices. Select the appropriate N otice of Appearance. Select N ext.
4. Enter the three or four digit M D L num ber (ex. 875). Select N ext.
5. V erify M D L num ber, if correct Select N ext.
6. Choose the case(s) for which the Appearance is being filed. Select N ext.
7. Select Party. Select next twice.
8. U pload the Appearance Form as the M ain docum ent and all other docum ents as attachm ents. Be sure to choose a category and description. Select the docum ent to which
the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial M otion for T ransfer and Appearances filed in transferred litigations should be
linked to the Conditional T ransfer Order (CT O).
9. Select the next button and verify docket text. If correct continue to select next to com plete the transaction.




                                                                                                                                                              JPML Form 18
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 4, 2020, a copy of the foregoing declaration will be

electronically filed with the Clerk of Court using the CM/ECF system. Notice of this filing will be

sent to all parties by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.




                                                By:    /s/ David A. Goldsmith
                                                        David A. Goldsmith (SBN 232457)
                                                        Attorney for Plaintiff
